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              EXHIBIT 1
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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                      OMB Nos. 1210-0110
                                                                                                                                                                                                    1210-0089
                                                       This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury
                                                      and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
                                                          sections 6057(b) and 6058(a) of the Internal Revenue Code (the Code).
           Internal Revenue Service
                                                                                                                                                                                        2017
            Department of Labor                                               Complete all entries in accordance with
          Employee Benefits Security
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation                                                                                                                                  This Form is Open to Public
                                                                                                                                                                                   Inspection
 Part I          Annual Report Identification Information
For calendar plan year 2017 or fiscal plan year beginning 01/01/2017                                                                    and ending         12/31/2017
                                                      a multiemployer plan                                  a multiple-employer plan (Filers checking this box must attach a list of
A    This return/report is for:
                                                                                                            participating employer information in accordance with the form instructions.)
                                                  X a single-employer plan                                  a DFE (specify)

B    This return/report is:                       X the first return/report                                 the final return/report
                                                      an amended return/report                              a short plan year return/report (less than 12 months)
C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

D    Check box if filing under:                 X Form 5558                                                automatic extension                                                 the DFVC program
                                                    special extension (enter description)
Part II Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b     Three-digit plan
 WORLD TRAVEL, INC. INC EMPLOYEE STOCK OWNERSHIP PLAN                                                                                                                               number (PN)           003
                                                                                                                                                                             1c     Effective date of plan
                                                                                                                                                                                    01/01/2017
2aPlan sponsor’s name (employer, if for a single-employer plan)                                                                                                              2b     Employer Identification
  Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                           Number (EIN)
  City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                           XX-XXXXXXX
WORLD TRAVEL, INC.                                                                                                                                                           2c     Plan Sponsor’s telephone
                                                                                                                                                                                    number
                                                                                                                                                                                        (484)348-6665
1724 W SCHUYLKILL RD DOUGLASSVILLE, PA 19518                                                                                                                                 2d     Business code (see
                                                                                                                                                                                    instructions)
                                                                                                                                                                                     561500




Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN         Filed with authorized/valid electronic signature                                           10/15/2018                 MARIBETH L. MINELLA
HERE
              Signature of plan administrator                                                          Date                       Enter name of individual signing as plan administrator


SIGN
HERE
              Signature of employer/plan sponsor                                                       Date                       Enter name of individual signing as employer or plan sponsor


SIGN
HERE
         Signature of DFE                                            Date                                                         Enter name of individual signing as DFE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                                     Form 5500 (2017)
                                                                                                                                                                                                   v. 170203
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                 Form 5500 (2017)                                                                                                          Page 2
3a      Plan administrator’s name and address X Same as Plan Sponsor                                                                                                                             3b   Administrator’s EIN

                                                                                                                                                                                                 3c   Administrator’s telephone
                                                                                                                                                                                                      number




4       If the name and/or EIN of the plan sponsor or the plan name has changed since the last return/report filed for this plan,                                                                4b    EIN
        enter the plan sponsor’s name, EIN, the plan name and the plan number from the last return/report:
a       Sponsor’s name                                                                                                                                                                           4d    PN
c       Plan Name

5       Total number of participants at the beginning of the plan year                                                                                                                            5                           523
6       Number of participants as of the end of the plan year unless otherwise stated (welfare plans complete only lines 6a(1),
        6a(2), 6b, 6c, and 6d).

a(1)          Total number of active participants at the beginning of the plan year .................................................................................                            6a(1)                        523

a(2)          Total number of active participants at the end of the plan year .........................................................................................                          6a(2)                        513


b       Retired or separated participants receiving benefits ................................................................................................................                     6b                              0

c       Other retired or separated participants entitled to future benefits ............................................................................................                          6c                              7

d       Subtotal. Add lines 6a(2), 6b, and 6c.......................................................................................................................................              6d                          520

e       Deceased participants whose beneficiaries are receiving or are entitled to receive benefits. .................................................                                            6e                              1

f       Total. Add lines 6d and 6e. .....................................................................................................................................................         6f                          521

g       Number of participants with account balances as of the end of the plan year (only defined contribution plans
         complete this item) .................................................................................................................................................................    6g                          511

h       Number of participants who terminated employment during the plan year with accrued benefits that were
        less than 100% vested .............................................................................................................................................................       6h                              1
7       Enter the total number of employers obligated to contribute to the plan (only multiemployer plans complete this item) .........                                                            7
8a      If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan Characteristics Codes in the instructions:
        2E       2I       2P     3I

b       If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan Characteristics Codes in the instructions:



9a      Plan funding arrangement (check all that apply)                                                                     9b      Plan benefit arrangement (check all that apply)
        (1)          Insurance                                                                                                      (1)            Insurance
        (2)                 Code section 412(e)(3) insurance contracts                                                              (2)                   Code section 412(e)(3) insurance contracts
        (3)           X     Trust                                                                                                   (3)            X      Trust
        (4)                 General assets of the sponsor                                                                           (4)                   General assets of the sponsor
10      Check all applicable boxes in 10a and 10b to indicate which schedules are attached, and, where indicated, enter the number attached. (See instructions)

    a   Pension Schedules                                                                                                      b     General Schedules
        (1)           X     R (Retirement Plan Information)                                                                          (1)           X              H (Financial Information)
                                                                                                                                     (2)                          I (Financial Information – Small Plan)
        (2)                 MB (Multiemployer Defined Benefit Plan and Certain Money
                            Purchase Plan Actuarial Information) - signed by the plan                                                (3)                 ___
                                                                                                                                                          0 A (Insurance Information)
                            actuary                                                                                                  (4)                          C (Service Provider Information)

        (3)                 SB (Single-Employer Defined Benefit Plan Actuarial                                                       (5)                          D (DFE/Participating Plan Information)
                            Information) - signed by the plan actuary                                                                (6)                          G (Financial Transaction Schedules)
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           Form 5500 (2017)                                                                    Page 3


Part III Form M-1 Compliance Information (to be completed by welfare benefit plans)
11a If the plan provides welfare benefits, was the plan subject to the Form M-1 filing requirements during the plan year? (See instructions and 29 CFR
     2520.101-2.) ........................………..….   Yes        No

     If “Yes” is checked, complete lines 11b and 11c.

11b Is the plan currently in compliance with the Form M-1 filing requirements? (See instructions and 29 CFR 2520.101-2.) …….....         Yes       No
11c Enter the Receipt Confirmation Code for the 2017 Form M-1 annual report.       If the plan was not required to file the 2017 Form M-1 annual report, enter the
     Receipt Confirmation Code for the most recent Form M-1 that was required to be filed under the Form M-1 filing requirements. (Failure to enter a valid
     Receipt Confirmation Code will subject the Form 5500 filing to rejection as incomplete.)

     Receipt Confirmation Code______________________
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                                                                                                                                                                     OMB No. 1210-0110
           SCHEDULE H                                                                       Financial Information
              (Form 5500)
            Department of the Treasury
                                                                This schedule is required to be filed under section 104 of the Employee                                  2017
             Internal Revenue Service                         Retirement Income Security Act of 1974 (ERISA), and section 6058(a) of the
                                                                                  Internal Revenue Code (the Code).
             Department of Labor
    Employee Benefits Security Administration
                                                                                         File as an attachment to Form 5500.                                This Form is Open to Public
      Pension Benefit Guaranty Corporation                                                                                                                           Inspection
For calendar plan year 2017 or fiscal plan year beginning 01/01/2017                                                                 and ending     12/31/2017
A Name of plan                                                                                                                            B       Three-digit
 WORLD TRAVEL, INC. INC EMPLOYEE STOCK OWNERSHIP PLAN
                                                                                                                                                  plan number (PN)                   003



C Plan sponsor’s name as shown on line 2a of Form 5500                                                                                    D    Employer Identification Number (EIN)
 WORLD TRAVEL, INC.                                                                                                                                XX-XXXXXXX


Part I     Asset and Liability Statement
1 Current value of plan assets and liabilities at the beginning and end of the plan year. Combine the value of plan assets held in more than one trust. Report
    the value of the plan’s interest in a commingled fund containing the assets of more than one plan on a line-by-line basis unless the value is reportable on
    lines 1c(9) through 1c(14). Do not enter the value of that portion of an insurance contract which guarantees, during this plan year, to pay a specific dollar
    benefit at a future date. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete lines 1b(1), 1b(2), 1c(8), 1g, 1h,
    and 1i. CCTs, PSAs, and 103-12 IEs also do not complete lines 1d and 1e. See instructions.
                                                     Assets                                                                          (a) Beginning of Year               (b) End of Year
a   Total noninterest-bearing cash .......................................................................                  1a
b   Receivables (less allowance for doubtful accounts):
      (1) Employer contributions ...........................................................................               1b(1)                             0                     6,500,000
      (2) Participant contributions .........................................................................              1b(2)
      (3) Other .......................................................................................................    1b(3)
c   General investments:
     (1) Interest-bearing cash (include money market accounts & certificates
                                                                                                                           1c(1)
          of deposit) .............................................................................................
      (2) U.S. Government securities ....................................................................                  1c(2)
      (3) Corporate debt instruments (other than employer securities):
           (A) Preferred ..........................................................................................       1c(3)(A)
           (B) All other ............................................................................................     1c(3)(B)
      (4) Corporate stocks (other than employer securities):
           (A) Preferred ..........................................................................................       1c(4)(A)
           (B) Common ..........................................................................................          1c(4)(B)
      (5) Partnership/joint venture interests ..........................................................                   1c(5)
      (6) Real estate (other than employer real property) .....................................                            1c(6)
      (7) Loans (other than to participants) ...........................................................                   1c(7)
      (8) Participant loans .....................................................................................          1c(8)
      (9) Value of interest in common/collective trusts ..........................................                         1c(9)
    (10) Value of interest in pooled separate accounts ........................................                           1c(10)
    (11) Value of interest in master trust investment accounts ............................                               1c(11)
    (12) Value of interest in 103-12 investment entities .......................................                          1c(12)
    (13) Value of interest in registered investment companies (e.g., mutual
                                                                                                                          1c(13)
         funds) ......................................................................................
    (14) Value of funds held in insurance company general account (unallocated
                                                                                                                          1c(14)
         contracts) ................................................................................................
    (15) Other .......................................................................................................    1c(15)


For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                          Schedule H (Form 5500) 2017
                                                                                                                                                                                    v.170203
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              Schedule H (Form 5500) 2017                                                                                           Page 2


1d    Employer-related investments:                                                                                                          (a) Beginning of Year       (b) End of Year
      (1) Employer securities .................................................................................             1d(1)                                    0            20,654,400
      (2) Employer real property ............................................................................               1d(2)
 e    Buildings and other property used in plan operation ......................................                             1e
 f    Total assets (add all amounts in lines 1a through 1e)....................................                               1f                                     0            27,154,400
                                                 Liabilities
 g    Benefit claims payable ...................................................................................             1g
 h    Operating payables ........................................................................................            1h
 i    Acquisition indebtedness ...............................................................................                1i                                     0          189,727,772
 j    Other liabilities ................................................................................................      1j
 k    Total liabilities (add all amounts in lines 1g through1j)...................................                           1k                                      0          189,727,772
                                                Net Assets
 l    Net assets (subtract line 1k from line 1f) ........................................................                     1l                                     0          -162,573,372

Part II Income and Expense Statement
2 Plan income, expenses, and changes in net assets for the year. Include all income and expenses of the plan, including any trust(s) or separately maintained
     fund(s) and any payments/receipts to/from insurance carriers. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not
     complete lines 2a, 2b(1)(E), 2e, 2f, and 2g.
                                                   Income                                                                                         (a) Amount                (b) Total
a     Contributions:
      (1) Received or receivable in cash from: (A) Employers ...............................                               2a(1)(A)                       6,500,000
           (B) Participants ......................................................................................         2a(1)(B)

           (C) Others (including rollovers) ..............................................................                 2a(1)(C)

      (2) Noncash contributions .............................................................................               2a(2)

      (3) Total contributions. Add lines 2a(1)(A), (B), (C), and line 2a(2) ..............                                  2a(3)                                                  6,500,000
b     Earnings on investments:
      (1) Interest:
          (A) Interest-bearing cash (including money market accounts and
                                                                                                                           2b(1)(A)
               certificates of deposit) ......................................................................
           (B) U.S. Government securities .............................................................                    2b(1)(B)

           (C) Corporate debt instruments..............................................................                    2b(1)(C)

           (D) Loans (other than to participants) ....................................................                     2b(1)(D)

           (E) Participant loans...............................................................................            2b(1)(E)

           (F) Other ................................................................................................      2b(1)(F)

           (G) Total interest. Add lines 2b(1)(A) through (F) ..................................                           2b(1)(G)                                                        0
      (2) Dividends: (A) Preferred stock .................................................................                 2b(2)(A)

           (B) Common stock .................................................................................              2b(2)(B)                     11,000,000
           (C) Registered investment company shares (e.g. mutual funds) ...........                                        2b(2)(C)

           (D) Total dividends. Add lines 2b(2)(A), (B), and (C)                                                           2b(2)(D)                                              11,000,000
      (3) Rents ........................................................................................................    2b(3)

      (4) Net gain (loss) on sale of assets: (A) Aggregate proceeds ....................                                   2b(4)(A)

           (B) Aggregate carrying amount (see instructions) .................................                              2b(4)(B)

           (C) Subtract line 2b(4)(B) from line 2b(4)(A) and enter result ...............                                  2b(4)(C)                                                        0
      (5) Unrealized appreciation (depreciation) of assets: (A) Real estate...................... 2b(5)(A)
           (B) Other ................................................................................................      2b(5)(B)                   -179,918,817
           (C) Total unrealized appreciation of assets.
                                                                                                                           2b(5)(C)                                            -179,918,817
               Add lines 2b(5)(A) and (B) ...............................................................
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              Schedule H (Form 5500) 2017                                                                                             Page 3


                                                                                                                                                                (a) Amount              (b) Total
      (6) Net investment gain (loss) from common/collective trusts .........................                                   2b(6)

      (7) Net investment gain (loss) from pooled separate accounts .......................                                     2b(7)

      (8) Net investment gain (loss) from master trust investment accounts ...........                                         2b(8)

      (9) Net investment gain (loss) from 103-12 investment entities ......................                                    2b(9)
     (10) Net investment gain (loss) from registered investment
                                                                                                                              2b(10)
          companies (e.g., mutual funds) ..................................................................
 c    Other income ....................................................................................................          2c
 d    Total income. Add all income amounts in column (b) and enter total .....................                                   2d                                                        -162,418,817
                                                  Expenses
 e    Benefit payment and payments to provide benefits:
      (1) Directly to participants or beneficiaries, including direct rollovers..............                                  2e(1)

      (2) To insurance carriers for the provision of benefits .....................................                            2e(2)

      (3) Other ..........................................................................................................     2e(3)

      (4) Total benefit payments. Add lines 2e(1) through (3) ..................................                               2e(4)                                                                      0
 f    Corrective distributions (see instructions) ........................................................                       2f
 g    Certain deemed distributions of participant loans (see instructions) ................                                      2g
 h    Interest expense ...............................................................................................           2h                                                                 154,555
 i    Administrative expenses: (1) Professional fees ..............................................                            2i(1)

      (2) Contract administrator fees ........................................................................                 2i(2)

      (3) Investment advisory and management fees ..............................................                               2i(3)

      (4) Other ..........................................................................................................     2i(4)

      (5) Total administrative expenses. Add lines 2i(1) through (4) ........................                                  2i(5)                                                                     0
 j    Total expenses. Add all expense amounts in column (b) and enter total........                                              2j                                                                 154,555
                            Net Income and Reconciliation
 k    Net income (loss). Subtract line 2j from line 2d ............................................................              2k                                                        -162,573,372
 l    Transfers of assets:
      (1) To this plan .................................................................................................       2l(1)

      (2) From this plan ............................................................................................          2l(2)


Part III Accountant’s Opinion
3 Complete lines 3a through 3c if the opinion of an independent qualified public accountant is attached to this Form 5500. Complete line 3d if an opinion is not
     attached.
 a   The attached opinion of an independent qualified public accountant for this plan is (see instructions):
           (1) X Unqualified                   (2)        Qualified              (3)       Disclaimer                (4)       Adverse

 b Did the accountant perform a limited scope audit pursuant to 29 CFR 2520.103-8 and/or 103-12(d)?                                                                               Yes         X No
 c Enter the name and EIN of the accountant (or accounting firm) below:
           (1) Name: ST. CLAIR CPAS, P.C.                                                                                                          (2) EIN: XX-XXXXXXX
 d The opinion of an independent qualified public accountant is not attached because:
           (1)        This form is filed for a CCT, PSA, or MTIA.                           (2)       It will be attached to the next Form 5500 pursuant to 29 CFR 2520.104-50.

Part IV Compliance Questions
4   CCTs and PSAs do not complete Part IV. MTIAs, 103-12 IEs, and GIAs do not complete lines 4a, 4e, 4f, 4g, 4h, 4k, 4m, 4n, or 5.
       103-12 IEs also do not complete lines 4j and 4l. MTIAs also do not complete line 4l.
       During the plan year:                                                                                                                                           Yes   No         Amount
 a     Was there a failure to transmit to the plan any participant contr butions within the time
       period described in 29 CFR 2510.3-102? Continue to answer “Yes” for any prior year failures until
       fully corrected. (See instructions and DOL’s Voluntary Fiduciary Correction Program.).....................                                                 4a         X
 b     Were any loans by the plan or fixed income obligations due the plan in default as of the
       close of the plan year or classified during the year as uncollect ble? Disregard participant loans
       secured by participant’s account balance. (Attach Schedule G (Form 5500) Part I if “Yes” is
       checked.) ............................................................................................................................................     4b         X
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                Schedule H (Form 5500) 2017                                                                                              Page 4-
                                                                                                                                                                        Yes   No              Amount
 c     Were any leases to which the plan was a party in default or classified during the year as
       uncollectible? (Attach Schedule G (Form 5500) Part II if “Yes” is checked.) .......................................                                         4c         X
 d     Were there any nonexempt transactions with any party-in-interest? (Do not include transactions
       reported on line 4a. Attach Schedule G (Form 5500) Part III if “Yes” is
       checked.) ...............................................................................................................................................   4d          X

 e     Was this plan covered by a fidelity bond? .............................................................................................                     4e   X                          500,000
 f     Did the plan have a loss, whether or not reimbursed by the plan’s fidelity bond, that was caused by
       fraud or dishonesty? .............................................................................................................................          4f         X
 g     Did the plan hold any assets whose current value was neither readily determinable on an
       established market nor set by an independent third party appraiser? ..................................................                                      4g         X

 h     Did the plan receive any noncash contr butions whose value was neither readily
       determinable on an established market nor set by an independent third party appraiser?...................                                                              X
                                                                                                                                                                   4h
 i     Did the plan have assets held for investment? (Attach schedule(s) of assets if “Yes” is checked, and
       see instructions for format requirements.) .............................................................................................                    4i   X
 j     Were any plan transactions or series of transactions in excess of 5% of the current
       value of plan assets? (Attach schedule of transactions if “Yes” is checked, and
       see instructions for format requirements.) .............................................................................................                    4j   X
 k     Were all the plan assets either distributed to participants or beneficiaries, transferred to another
       plan, or brought under the control of the PBGC? ..................................................................................                          4k         X
 l     Has the plan failed to provide any benefit when due under the plan? ..................................................                                      4l         X
 m     If this is an individual account plan, was there a blackout period? (See instructions and 29 CFR
       2520.101-3.) ..........................................................................................................................................     4m         X
 n     If 4m was answered “Yes,” check the “Yes” box if you either provided the required notice or one of
       the exceptions to providing the notice applied under 29 CFR 2520.101-3. ..........................................                                          4n
5a     Has a resolution to terminate the plan been adopted during the plan year or any prior plan year?........ Yes X No
       If “Yes,” enter the amount of any plan assets that reverted to the employer this year ____________________________________.
5b     If, during this plan year, any assets or liabilities were transferred from this plan to another plan(s), identify the plan(s) to which assets or liabilities were
       transferred. (See instructions.)
       5b(1) Name of plan(s)                                                                                                                                                       5b(2) EIN(s)    5b(3) PN(s)




5c If the plan is a defined benefit plan, is it covered under the PBGC insurance program (See ERISA section 4021.)? ......Yes    No       Not determined
     If “Yes” is checked, enter the My PAA confirmation number from the PBGC premium filing for this plan year________________________. (See instructions.)
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                                                                                                                                                                                                        OMB No. 1210-0110
            SCHEDULE R                                                                Retirement Plan Information
               (Form 5500)
                                                                    This schedule is required to be filed under sections 104 and 4065 of the                                                                2017
            Department of the Treasury
             Internal Revenue Service                               Employee Retirement Income Security Act of 1974 (ERISA) and section
              Department of Labor
                                                                              6058(a) of the Internal Revenue Code (the Code).
     Employee Benefits Security Administration                                                                                                                                                   This Form is Open to Public
                                                                                             File as an attachment to Form 5500.                                                                        Inspection.
       Pension Benefit Guaranty Corporation
For calendar plan year 2017 or fiscal plan year beginning
                                              01/01/2017                                                                                                      and ending                12/31/2017
AName of plan                                                                                                                                                             B       Three-digit
WORLD TRAVEL, INC. INC EMPLOYEE STOCK OWNERSHIP PLAN                                                                                                                               plan number
                                                                                                                                                                                   (PN)                         003


CPlan sponsor’s name as shown on line 2a of Form 5500                                                                                                                     D       Employer Identification Number (EIN)
WORLD TRAVEL, INC.
                                                                                                                                                                                   XX-XXXXXXX

     Part I              Distributions
All references to distributions relate only to payments of benefits during the plan year.

1       Total value of distributions paid in property other than in cash or the forms of property specified in the                                                                         1                                     0
        instructions ..............................................................................................................................................................
2       Enter the EIN(s) of payor(s) who paid benefits on behalf of the plan to participants or beneficiaries during the year (if more than two, enter EINs of the two
        payors who paid the greatest dollar amounts of benefits):

           EIN(s):              _______________________________                                                                  _______________________________

        Profit-sharing plans, ESOPs, and stock bonus plans, skip line 3.

3       Number of participants (living or deceased) whose benefits were distr buted in a single sum, during the plan                                                                       3
        year ...........................................................................................................................................................................
    Part II              Funding Information (If the plan is not subject to the minimum funding requirements of section 412 of the Internal Revenue Code or
                         ERISA section 302, skip this Part.)
4      Is the plan administrator making an election under Code section 412(d)(2) or ERISA section 302(d)(2)? ..........................                                                           Yes            No          N/A
        If the plan is a defined benefit plan, go to line 8.

5       If a waiver of the minimum funding standard for a prior year is being amortized in this
        plan year, see instructions and enter the date of the ruling letter granting the waiver.                                                   Date:        Month _________                Day _________    Year _________
        If you completed line 5, complete lines 3, 9, and 10 of Schedule MB and do not complete the remainder of this schedule.
6      a     Enter the minimum required contribution for this plan year (include any prior year accumulated funding
                                                                                                                                                                                           6a
              deficiency not waived) .......................................................................................................................................
       b      Enter the amount contr buted by the employer to the plan for this plan year .....................................................                                            6b

       c     Subtract the amount in line 6b from the amount in line 6a. Enter the result
             (enter a minus sign to the left of a negative amount) .........................................................................................                               6c
        If you completed line 6c, skip lines 8 and 9.
7     Will the minimum funding amount reported on line 6c be met by the funding deadline? ............................................                                                            Yes            No          N/A

8       If a change in actuarial cost method was made for this plan year pursuant to a revenue procedure or other
        authority providing automatic approval for the change or a class ruling letter, does the plan sponsor or plan
        administrator agree with the change? .......................................................................................................................                              Yes            No          N/A

    Part III             Amendments
9       If this is a defined benefit pension plan, were any amendments adopted during this plan
        year that increased or decreased the value of benefits? If yes, check the appropriate
        box. If no, check the “No” box. ..............................................................................................                         Increase                    Decrease           Both          No

    Part IV              ESOPs           (see instructions). If this is not a plan described under section 409(a) or 4975(e)(7) of the Internal Revenue Code, skip this Part.
10       Were unallocated employer securities or proceeds from the sale of unallocated securities used to repay any exempt loan?.................                                                                    Yes    X No

11 a            Does the ESOP hold any preferred stock? ....................................................................................................................................                         Yes    X No
   b            If the ESOP has an outstanding exempt loan with the employer as lender, is such loan part of a “back-to-back” loan?                                                                                  Yes    X No
                (See instructions for definition of “back-to-back” loan.) ..................................................................................................................

12      Does the ESOP hold any stock that is not readily tradable on an established securities market? ........................................................                                                 X Yes          No
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                                            Schedule R (Form 5500) 2017
                                                                                                                                                                                                                     v. 170203
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  Part V      Additional Information for Multiemployer Defined Benefit Pension Plans
13 Enter the following information for each employer that contr buted more than 5% of total contr butions to the plan during the plan year (measured in
      dollars). See instructions. Complete as many entries as needed to report all applicable employers.

     a    Name of contributing employer

     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month              Day           Year
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify):

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month              Day           Year
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month              Day           Year
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month              Day           Year
     e    Contr bution rate information (If more than one rate applies, check this box and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contr bution rate (in dollars and cents) _____________
          (2) Base unit measure:         Hourly          Weekly           Unit of production       Other (specify): _______________________________
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14   Enter the number of participants on whose behalf no contributions were made by an employer as an employer
     of the participant for:
      a    The current year ..................................................................................................................................................   14a
      b    The plan year immediately preceding the current plan year ................................................................................                            14b
      c    The second preceding plan year .........................................................................................................................              14c
15    Enter the ratio of the number of participants under the plan on whose behalf no employer had an obligation to make an
      employer contribution during the current plan year to:
      a    The corresponding number for the plan year immediately preceding the current plan year ...............................                                                15a
      b    The corresponding number for the second preceding plan year .........................................................................                                 15b
16    Information with respect to any employers who withdrew from the plan during the preceding plan year:
      a    Enter the number of employers who withdrew during the preceding plan year ................................................                                            16a
      b    If line 16a is greater than 0, enter the aggregate amount of withdrawal liability assessed or estimated to be                                                         16b
           assessed against such withdrawn employers .....................................................................................................
17   If assets and liabilities from another plan have been transferred to or merged with this plan during the plan year, check box and see instructions regarding
     supplemental information to be included as an attachment. .......................................................................................................................

 Part VI          Additional Information for Single-Employer and Multiemployer Defined Benefit Pension Plans
18 If any liabilities to participants or their beneficiaries under the plan as of the end of the plan year consist (in whole or in part) of liabilities to such participants
     and beneficiaries under two or more pension plans as of immediately before such plan year, check box and see instructions regarding supplemental
     information to be included as an attachment ............................................................................................................................................................................

19    If the total number of participants is 1,000 or more, complete lines (a) through (c)
      a Enter the percentage of plan assets held as:
             Stock: _____% Investment-Grade Debt: _____% High-Yield Debt: _____%                                                                Real Estate: _____% Other: _____%
      b      Provide the average duration of the combined investment-grade and high-yield debt:
                 0-3 years               3-6 years              6-9 years               9-12 years                12-15 years                15-18 years                18-21 years       21 years or more
      c      What duration measure was used to calculate line 19(b)?
                Effective duration                 Macaulay duration                   Modified duration                  Other (specify):
